            Case: 20-2205 Document:
Case 2:20-cv-13134-LVP-RSW  ECF No. 10   Filed: 12/18/2020
                                    68, PageID.3337           Page: 1 Page 1 of 1
                                                       Filed 12/18/20

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                  December 15, 2020


Clerk
United States Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 East Fifth Street                                                     FILED
Cincinnati, OH 45202-3988                                          Dec 18, 2020
                                                               DEBORAH S. HUNT, Clerk

      Re: Timothy King, et al.
          v. Gretchen Whitmer, Governor of Michigan, et al.
          No. 20-815
          (Your No. 20-2205)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
December 11, 2020 and placed on the docket December 15, 2020 as No. 20-815.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Lisa Nesbitt
                                        Case Analyst
